Case 1:07-cV-00206-E.]L Document 2-1 Filed 05/03/07 Page 1 of 11

CT CORPORATION

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Boatori, MA` 02116 n `
H.O. Legal Deptn

RE: l*-rocess Ser-ved in ldal'lo

Fnll: Prudentia|` P'roperfy and'Caa`ua|ty Insur`anoe.£:or_n any ('Former Na`rne) {Dorr`ie's_tic`State: |`N]
LM Praperty and C-asua|ty |nsurz`ince'Company ( rue' Name)

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Phy||is R. Charter.s and Robert L Chartera Husband and Wifa
Piaintiffs vs Prudsntia| Property and Casuaity Insurarioe Company. et al Defendants

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Ada Coumy, Fourth Judicia| Dis_ti"id. State of Idaho, |D
Caae # CV 09 0_61-9740`

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Mich`ae| R. dohnson

Be_vis. Jo`_hnso'n & Thiry. P_A.
`9_6_{} Bfroadway

Suite 220

t'-'.O Box 827

Boise. |D-. 837_01- 083-27
208-345-1040

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Case 1:07-cV-00206-E.]L Document 2-1 Filed 05/03/07 Page 2 of 11

State of |dah'o

DEPARTMENT OF INSURANCE
C.'i... “BUTCH" OTTER 700 West-S!ata Street. 3d Hoor MLUAM W. DEAL
Go werner RO. Box"'S£i??Q D.fraoi‘of

adea idaho -337`204`1043- _
Phone_;zos; 334-4250 Fax- (203_; 334-4296-
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To: PRUDENTIAL PROPERTY & CA`SUALTY INSURANCE C`OMPANY
%CT`CORPOR_ATION SYSTEM
300 NORTH GTH ST
BOISE ID- `8-37{]]

CC`: Plaintiff’.s_ counsel .(`wf_o Enclosure's] via First Ciass M'ail

Fron'l: ldaho Departi:nent of insurance

Datie: 4!3/200'7

Re: NOTI_C__E OF SUMMONS -AND COMPLALNT AND DEMAND FOR JURY 'TRIAL [N
THE DISTRICT OF THE FOURTH HJDICLAL DISTRICT OF THE- STATE OF
IDAHO_, IN AND FOR THE CQUNTY` OF ADA CASE_NO_- CV` O_C 061974.0..

 

YOU WILL PLEA_SE TAKE NOTICE that a due and regular service of a SUMMONS
AND COM_PLAINT AND_ DEMAND FOR. JURY TRI.AL, in connection With the.above.-entitled
acti=on, Was: made upon you by US MAIL on the THlRD day of A.PRIL, 2007, by delivering in
Boi-se, Id'aho, on the said date -to 'the Dii"eetor of the Depart`ment of Insuranc`e, State of _Idaho, who
is the duly and regularly appointed S`tatil`tory Agent. A copy of each instrument is enclosed
herewith to you as provided by law.

IN `WITNESS WHEREOF, Iha-_v`e hereunto set my hand and the official .Sea_.l of this office
at B:oi'se, Idaho, this THIRD?d'ay of APRIL, 200-7-.

William W- Deal
DIRECTOR
Department of hisuranee
Stat'e of Idaho

 

Ced NO.YOOB 1160 0000. 1506 3672

Case 1:07-cV-00206-E.]L Document 2-1 Filed 05/03/07 Page 3 of 11

 

 

MICHAEL R. J`OHNSON - 'F..i._i,__,,_..a_ l rig §-
stis§, JOHNSON a 'THlRY, P.A. M\GHAEL McLAUGHL\N --~»---F'n h v no 9 ~»---.........
Attorneys at L_aw ' `“" § ‘; ' ZBBE

960 Broad`wa'y, S_uite 220 J. i?s*-‘.s:.s;‘: s\ s Fs`»*sC mem

P,o. sex 827
Boise, mario .33701-082-7 `
Telephone.: -(20`8) 345-1040

Facsimj]_o: (208) 345-03;65

Idaho State'Bar No. 4706

ATTORNEYS FO.R PLA[NTIFFS

IN THE DISTRICT `COU.RT OFTHE FOURTH .TUDICIAL DISTRICT O`F 'I'HE

STATE. OF IDAHO_, IN AND F_OR TI~IE_ COUNTY OF ADA

PHYLLIS R. CHART.`ERS and
ROBERT L. CHARTERS, Husband and Wii`e - _ _ _. . . -_
Plaintiffs',
SUMMONS
v.
PRUDENTIAL PROPERTY AND

CASUALTY INSURANCE COMPANY,
LIB'ERTY M-uTUAL jG'ROUP, INC_., sand
L_IBERTY MU-TUAL PRQPERTY AND
CASUALT\' lNSURANCE COMPANY

Defendants.

 

'I`O: PRUDENTI-AL'PROPERTY AND CASUALTY INSURANCE_ C.OMPANY
NO'I`ICE: _YOU HAVE BEEN SUE_D BY TH_E ABOVE NANIED PLAINTIFF.`

THE COURT MAY ENTER .IUDGMENT -AGAINST' YOU W"ITHO.UT FUI{THER NOTICE

UNLES_S YOU RE.SPQND WITHIN THlRTY (30`) DAYS. READ THE

INFORMATION BELOW.

S:UMMONS- - Page 1_

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You are hereby notified that in order to defend this lawsuit, an appropriate written response-
must-b'e filed with the above designated court within twenty '(20) days after service of this `Sumi`nons
nn you. It` you fail to so respond, the Court may enter judgment against you as demanded by the
Pl`aintit"f in the Complaint`.

A copy of'the-Complai_nt is served with this Summons. If you wish to seek the advice of or
representation byan attemey in this -m'a'tter,, you should do so promptly so that your written response,
"if any, may be filed in time and other legal rights protected

An appropriate W`ritte_n response requires compliance with Rule ]-O(a)(_l) and other Idaho
Rule's of C.i`vil Procedure and shall also include:

l_._ The title and number of this case

2. If your response is an Answer to'th'e Compia'int it must contain admissions or denials
of the separate allegations of the Complaint and other defenses you may claim.

3. Y_our signature mailing address and telephone number,_ or 'th_c si gnature,- mailing
address and telephone number of your attorn'ey.

4. Pro'of of mailing or delivery of a copy of your response t_o P]-ainti_ff"s jattorney, as-
des-ignated above

To determine whether you must payr a filing fee with your respon'se_, contact"the Clerk of the
above-named Court.

DATED this B day of Octohe'r; 2006

CLERK OF 'THE DISTR.ICT COURT'
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Deput_y C_]'crk

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rSUMMONS - Page 2.

Case 1:07-cV-00206-E.]L Document 2-1 Filed 05/03/07 NE?aoe 5.0f11

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A.M,_..,_.....________ .. .*"_.*s! __,.____

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MICH-AEL. R. JOHNSON

BEVIS, JOHNSON & THIR?Y, P.A. .J. 'stto anna am
Attomeys at Law n BEJAY;;EH-'

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P.O_`. Boxf 827

`.Boise, Idaho' 83701-0327
Telephone-: (20_8') 345-1040
Facs-imi]e: (208) 345-0365
Idaho `Staie ear No. 4706

A'ITORNEYS FOR PLA]NT[FFS

IN THE DISTRIC.T COURT OF THE F.OURTH IUDICIAL DISTRICT OF THE

`STATE--OF IDAHO, [N AN`Dl F_OR THE _C_OUNTY- O`F AD`A

PHYLLLS R. C_HARTERS and
RO_BERT L. CHART-ERS, nu-sbana and Wife _ _ _ _
CASE No. CV UC _'[]__5'1 g 7 4 0
Pl:aimiffs,:
CoMPLAINT AND DEMAND
v. FoR JURY TR1AL
PRUDENHAL PROPERTY AND

CASUALTY` INSURANCE COMPANY,
LIBERTY MUTUAL GR(_)U_P, IN'C., and
LIBERTY' MUTUAL PROPERTY AND
CAS.UALTY mS.URANCE COMPANY

D.efendants.

 

COMES NOW, the above-c_aptioned`Plaint-iffs, by-and through their attorney o_frec'ord, Bevis_,-

Johnson &'Thiry, P.A._, and Com'plain and allege against the above captioned .Defendants a`"s 'follow:

COWLAINT'AND' DEMAND F`OR JURY miAL - P-ag¢ 1 © .C PY

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P.ARTIE§, J`URI§DICTION AND VE§ §§
I.
Plain`tifi`s, are now,_ and at all times relevant to`thi-'s action were residents ofthe state ofldaho.
ll
At a-II times-relevant herein, Defendants were foreign corporations authorized to do business
in the-state of Ida_ho and had the authority to transact insurance:business in the state of Idaho.
111
The amount in controversy is greater than the sum of $10,000 and the claims -and'caus'es of
action set forth herein therefore exceed the jurisdiction-ai limits and prerequisites of the Dis__uict Court._
IV.
Bas_ed upon the:ab.ove allegations,.and the allegation nlrther made herein, venue is proper in
this action pursuant to Idaho Code §- _5.~404.
V.
Service of process maybe made upon Defendant-s pursuant to Idaho C`ode §§_4.1»333 and 41 -
33'4,_ by service upon the Direetor of .t_h'e Department_of In-slnance for the state of'Idaho.
FACTUAL ALLEGATIONS -COMMON 'I`O ALL C`OU-NTS
VI.
A't all-times relevant hereto P'la-inti_f_t`s Were insured under an automobile insurance policy
issued by the Defendant`, P`rudential Pr'operty and Ca-s'u`alty lns-uranee Company (her'einaiter

“Prude_ntia]”),

`COMPLAINT AND DEMAND FOR .TURY TRIAL - Page .2

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The contractual obligations of Prudential insurance policy purchased by Plaintifi`s- were
subsequently assumed by Defen'dants, Lil_;_)erty Mutual Gro_up_, Inc._, and Lib_erty M'utual' Propex`ty and
Casualty Insurance Com'pany (h`ercinafter_ collectively “Libc'rt-y Mutual’-'")'._

VI]I.

’I`lie P-olicy of lnsurance provided medical payments coverage for medical expenses caused

by an automobile accident
IX.

S'aid Policy'ol` insurance issued by the D_efenda'nt Prudent-ial and subsequ'ently-asstuned by-
Liberty_ Mutual also provided underinsured motorist coverage for damages for bodily injury that the
Plairltiffs.Were legally entitled to collect from the owner or driver of an underinsured motor vehicle

X_

.On or about Octob.er 22', 2001,_ in Ada County, Idaho, the Plaintiffs were involved -in an
automobile collision with an underinsured motorist -as-- defined by said policy of insurance The
collision resulted from the negligence ofth"e undermsined.motorist and Plaintiffs suffered injuries and
have incurred medical expenses as a proximate result of said motorist's negligence Plaintiffs have
settled with the underinsured motoIi-s_t, receiving the full limits of said m_o_tor.i_-st’s liability p_olicy,_ all
with the permission of the Defend'ants;

XI.

Plaintii`fs have provided Defendants with proof of their losses under the medical payments
coverage and underinsured motorist coverag_c. Defe'ndants have'failed for a period of thirty (3-0) days
alter such proofs of loss were fumished to De`fendants t__o pay P_laintiffsi the-amount justly due them
under the terms of said policy of insurance

CDMPLAINT AND -DEMAN_D FOR JURY TRIAL - Page 3

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XH.
Pursua`r'it to Idaho C'odc § 41-1839. Defendants are liable to the PiaindH`S_ for Plaint_iii`s"
attorney fees incurred in prosecuting this lawsuit
FIRST CAUSE` OF ACTION
XI]I`.
Plaintiffs re-allege paragraphs l through X-]] as if restated herein-.
XIV.

PlaintiH-`-_s have submitted to the De-fendanis for payment under the Plaintiii`s’ medical payments
coverage With the -D_efendants, medical expenses incurred as a proximate result oftl're-rnotor vehicle
colli'sion.

XV.

D'efend'a'nts have failed and refused to pay all such medical expenses submitted in breach of
its contract of insurance with the `Pla_intiffs'. D`efendants_are liable to the P-laintit`fs'for that breach of
contract, in an amount equal to the remaining limits of medical payments coverage

XVI..
Plain_tifi"s` are entitled to be awarded prejudgment interest, costs and attorney fees.
SECOND CAUSE OF.ACTION
XVII.
Pl_aint_ifTs re-a__ll_eg_e paragraphs I through XVI as if restated herein.
XVIH_.

Plaintiffs have demanded payment nom Defen'dants for the damages for bodily injury suffered
by PIainti`ff_s, to the extent Pla'intiffs have not yet been compensated therefore by virtue ofthe policy
limits settlement with the underinsured driver, owner and their insurer_

coMPLAINr-AND' DEMAND rca JURv. rurAL ~ Pag¢ 4

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X]X.

Defendan`ts have failed and refused t"o pay the amount justly due Plaintiffs_ under said
underinsured .motor_ist_coverage. Defendants- have breached the contract of insurance and are liable
to Plaint`i-ffs' for said breach in fan amount in excess of $10,-000.

Plaintil`fs are entitled to be awarded prejudgment .interest, e'o_sts'and attorney fees.

THIRD CAUSE' OF-ACTION
Plaintiiis re-allege paragraphs l through XX as if restated herein'.
XXH.
.Plaintifi`s' have performed all conditions the.'policy required them to.-p'erforrn.
XXll`I-,

D.efendants have breached the implied covenant of good faith and fair dealing by failing to
justly pay Plaintii°fs-’ claims and are li able to the Pl'aintifi`s for'darnag_es arising from said breach in an
amount in excess -of'$ l 0,00.0.

XXIV.
_Plairltiffs are entitled to be awarded-prejudgment interest, costs and attorney fees.
FOURTH C'AUSE OF ACTION

Plaintitt`s. re-allege paragraphs I through XXIV as if restated herein.

COMPLAINT AND DEMAND FO_R ]URY- TRIAL - P-_age 5

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XXVI.

Defe'ndant-s' have acted in bad faith in denying payment of Plaintiffs’ medical-expenses and
underinsured losses, and are liable to the Plaintii.`fs for damages arising from said bad faith and
misconduct in an amount in excess of $10,.0.00.

XXVII_-
Pl_aintiffs are entitled to-be awarded prejudgment intere-s_t, costs and attorney fe_es.
XXVIII.

W?h'erefore, Plaintii’f`s pray for ._ludg_ment against Defe-_ndants as fol.lows:

I . Under`the F_irs`t` Cause ofAe'tion, for damages sustained by P'laintiffs as a result of the
Dcf`endants’ breach of its contract of insurance w-ith`the plaintiffs in an amount equal to the.re;maining
Ii_mit;s.o"f medical payments co.verage_, plus prejudgment interes_t, costs and attorney fees;

2.- Under the Sec'ond Cause ofActi'on,_. for damages sustained by Plaintiffs as a result of
the Defendants.’ failure and refusal to pay the-amount justly due Plaintif`i`s under said underinsured
motorist coverages in an amount in excess of $ l O-,OOO,- plus prejudgment i-nterc;$t-, costs and attorney
'fecs;

3 . Underth'e Third C-ause ofActi`on, for damages sustained by Plaintiii`s' as a result of the
Defen'dants’ breach of the implied covenant of good`faith. and fair dealing in an amount in excess of
$10,000,_ plus prejudgment intere'st`,_ costs and attorney fees;

4. Un_der'the Fourth Cause ofAet-ion, for damages sustained by the Plaintiffs--as a-res_lllt .
`o.fDei`endan`ts’ bad faith in denying payment ofPla-intiffs’ medical expenses and underinsured losscsz-,
in an amount in excess of.$ l 0,000% plus prejudgment interests,.'cost-s and attorney fees;

5.,_ -Fer Plainti`fi`s’ atteme_y_ fees, costs and prejudgment interest;_

6'. F or such further relief as the Court deems just and proper.

COMPLAINT AND -DEMAN‘D FOR JUR_Y 'I`R_I_AL - Page 6.`

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DEMAND POR JURY- TRIAL
P-ursuant t_o_ R_ule 33_(b), fdaer Rn!es ofCr`vr'l Procedure, P-laintiffs_ demand-a trial by jury on

any and all issues properly triable by jury in this -act:i_on.

pt
._ . § .
n-A'an) nas ]' day of october 2006.

nnvrs, JoHNsoN a THrRY, P.A.

22a/l " 2/

Mj'chael R. .Johnson
Attomeys for Pl`aintii-`fs

-coMPLArN-r AND DEMAND FoR- JUR'Y- nuAL - sager

